                Case 22-11068-JTD         Doc 201     Filed 12/12/22     Page 1 of 3




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE



 In re:                                 )                Case No. 22-11068-JTD
                                        )                Chapter 11
 FTX TRADING LTD., et al.,              )                Judge John T. Dorsey
                                        )
          Debtors.                      )
 _______________________________________)


 NOTICE OF APPEARANCE AND CERTIFICATION OF GOVERNMENT COUNSEL

          The undersigned attorney, Ward W. Benson, appears in this matter as counsel of record

for the United States of America, on behalf of its agency the Internal Revenue Service, and files

this certification of a government attorney pursuant to Local Rule 9010-1(e)(i).

          1.     Mr. Benson is admitted to the bars of the State of New York (Registration No.

                 4939278) and to the United States District Courts for the Southern District of

                 New York and the District of Puerto Rico.

          2.     Mr. Benson is in good standing in all jurisdictions in which he has been admitted.

          3.     Mr. Benson will be bound by the Local Rules of the United States Bankruptcy

                 Court for the District of Delaware, and he submits to the jurisdiction of this Court

                 for disciplinary purposes.



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           Case 22-11068-JTD   Doc 201   Filed 12/12/22   Page 2 of 3




DATE: December 12, 2022                  Respectfully submitted,

                                         DAVID A. HUBBERT
                                         Principal Deputy Assistant Attorney General

                                         /s/ Ward W. Benson
                                         WARD W. BENSON
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               Case 22-11068-JTD          Doc 201   Filed 12/12/22   Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I certify that the foregoing NOTICE OF APPEARANCE was filed with the Clerk of the

Court on December 12, 2022, using the CM/ECF system, which will send notification of such

filing to all parties appearing in said system.


                                                    /s/ Ward W. Benson
                                                    WARD W. BENSON
